                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

   THE STATE OF MISSOURI,
   et al.

                      Plaintiffs,

      v.                                            No. 4:21-cv-01300-DDN

   JOSEPH R. BIDEN, JR.;
   et al.

                      Defendants.

                              PLAINTIFFS’ REPLY IN SUPPORT
                           OF MOTION FOR EXPEDITED BRIEFING

       Nothing in the Defendants’ opposition justifies denying the Plaintiff States’ motion for

expedited briefing.

       Defendants focus on the fact that OMB has approved an extension of the deadline for

covered employees to be fully vaccinated to January 18, 2022. See ECF No. 12, at 3. To start, the

Government’s published guidance on this point is confusing and self-contradictory. Under EO

14042, Task Force Guidance regarding contractor vaccine mandates is binding only after the OMB

Director “approves the [Guidance] and determines that the Guidance ... will promote economy

and efficiency in Federal contracting.” § 2(a). The ostensibly “new” Guidance on the Task Force’s

website requires that “[c]overed contractor employees must be fully vaccinated no later than

January 18, 2021.” Safer Fed. Workforce Task Force, COVID-19 Workplace Safety: Guidance

for Federal Contractors and Subcontractors 5 (updated Nov. 10, 2021), https://bit.ly/3c3q4pk

(emphasis added). But the OMB document to which Defendants link says, purportedly quoting

from the “revised Guidance,” that “[c]overed contractor employees must be fully vaccinated no

later than January 18, 2022.” OMB, Determination of the Acting OMB Director Regarding the


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Revised Safer Federal Workforce Task Force Guidance and the Revised Economy & Efficiency

Analysis Pursuant to Executive Order No. 14042, at 2, 9 (last accessed Nov. 11, 2021),

https://public-inspection.federalregister.gov/2021-24949.pdf    (emphasis    added)    [hereinafter

“OMB Determination”]. The discrepancy in dates, a key feature of the Guidance, suggests that

the OMB has not approved the Task Force’s Guidance (which has the 2021 date), and the

discrepancy is sure to promote widespread confusion.

       It is also doubtful that the Defendants’ six-week grace period provides all that much grace.

All the new deadline does is extend the mandate’s final deadline past the holidays. But it takes

several weeks to become fully vaccinated under the most common (mRNA) vaccines—there is a

three-week (Pfizer) or four-week (Moderna) waiting period between the first and second shots,

and then a two-week interval between the second shot and fully vaccinated status. See COVID-19

Vaccines    That     Require     2    Shots,    CDC,      https://www.cdc.gov/coronavirus/2019-

ncov/vaccines/second-shot.html. Employees taking the Pfizer vaccine will thus have to start the

course of vaccination by no later than December 14, and employees taking the Moderna vaccine

will have to start the course of vaccination by no later than December 7. All this means that

working families will have to start making painful decisions about their economic futures—

including cutting back on holiday spending and looking for new employment if necessary—long

before the holidays. Those decisions will also affect employers immediately. That is not a

“conclusory” observation. ECF No. 12, at 3. That is a matter of common sense.

       Most importantly, the Defendants’ change to the compliance date highlights the need for

expedited briefing, as Defendants are seeking to unlawfully move the goalposts during litigation.

The change in compliance date is the only substantive policy change between the mandate the

Plaintiff States originally challenged and the so-called “new Determination.” ECF 12, at 4. In all




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other respects, the mandate is the same. Yet the new OMB decision contains an attempt to provide

a brand-new justification of why the agency approved, on economy and efficiency grounds, the

contractor vaccine mandate and fills procedural gaps it had initially left unaddressed. See OMB

Determination, supra, at 14–20, 21–27.          The new decision thus merely provides a new

rationalization for the same policy to replace the entirely conclusory rationalization that the Task

Force and OMB first provided. To put it another way, OMB’s substantive discussion doesn’t

justify the change in compliance date; it purports to provide a new justification for the initial

decision to approve the Task Force’s vaccine mandate. See also ECF No. 12, at 3–4 (saying it

“provides additional” analysis).

        That is manifestly unlawful, because this new justification (adopted under litigation) is

merely a post hoc rationalization that “upset[s] ‘the orderly functioning of the process of review,’

forcing both litigants and courts to chase a moving target.” Dep’t of Homeland Sec. v. Regents of

the Univ. of Cal., 140 S. Ct. 1891, 1909 (2020) (citation omitted). And while the target moves,

Defendants are able to use the threat of the mandate to coerce compliance, and thus harm the

weighty interests that caused the Plaintiff States to bring this suit. That is why it is a “foundational

principle of administrative law” to reject such “impermissible post hoc rationalizations.” Id.

(citations omitted). If Defendants had reasons to justify imposing their mandate on one-fifth of

the U.S. workforce, the law obliged them to state those reasons when they adopted the policy—

not after the Plaintiff States sued to challenge the policy. See id.; see also, e.g., Asbestos Info.

Ass’n/N. Am. v. Occupational Safety & Health Admin., 727 F.2d 415, 422 (5th Cir. 1984) (holding

that “post hoc rationalizations cannot be accepted as a basis for our review”). Defendants’ attempts

to move the goalposts while this case is pending call for swifter judicial resolution—not delayed

judicial resolution.




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       There is therefore no need to allow the target to continue the chase. The Plaintiff States’

proposed briefing schedule is more than sufficient to ventilate the issues—including any wrinkles

that OMB’s new determination raises, see ECF No. 12, at 3–4 (claiming, without discussing, that

the new determination affects the Plaintiff States’ procedural and arbitrary-and-capricious

claims)—while also allowing for a decision that will ameliorate the numerous harms the contractor

vaccine mandate imposes on the Plaintiff States.

                                         CONCLUSION

       For those reasons, the Plaintiff States respectfully request that the Court grant their motion

for expedited briefing.



Dated: November 11, 2021                             Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on November 11, 2021, a true and correct copy of the foregoing and

any attachments were filed electronically through the Court’s CM/ECF system, to be served on

counsel for all parties by operation of the Court’s electronic filing system.

                                                                      /s/ Justin D. Smith




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